Case 2:21-cv-04758-JVS-JDE Document 28 Filed 10/05/21 Page 1 of 7 Page ID #:163




 1   Stephen M. Lobbin (SBN 181195)
 2   sml@smlavvocati.com
     Austin J. Richardson (SBN 319807)
 3   ajr@smlavvocati.com
 4   SML AVVOCATI P.C.
     888 Prospect Street, Suite 200
 5   San Diego, CA 92037
 6   Tel: 949.636.1391

 7   Mark Berkowitz (pro hac vice)
 8   mberkowitz@tarterkrinsky.com
     TARTER KRINSKY & DROGIN LLP
 9   1350 Broadway
10   New York, NY 10018
     Tel: 212.216.8000
11

12   Attorneys for Plaintiff

13
                               UNITED STATES DISTRICT COURT
14
                             CENTRAL DISTRICT OF CALIFORNIA
15
                                         SOUTHERN DIVISION
16

17
     GUANGZHOU YUCHENG                                   Case No. 2:21-cv-04758-JVS-JDE
18
     TRADING CO., LTD., a foreign
19   limited liability company,
                                                         PLAINTIFF/COUNTERCLAIM-
20
         Plaintiff/Counterclaim-Defendant,               DEFENDANT’S ANSWER TO
21                                                       COUNTERCLAIMS
                    v.
22
                                                         DEMAND FOR JURY TRIAL
23   DBEST PRODUCTS, INC., a
     California corporation,                             Action Filed: June 10, 2021
24
                                                         Trial Date: January 31, 2023
25       Defendant/Counterclaim-Plaintiff.               Judge: James V. Selna
26

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                           Plaintiff/Counterclaim-Defendant’s Answer to Counterclaims
                                                                            Case No. 2:21-cv-04758-JVS-JDE
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Case 2:21-cv-04758-JVS-JDE Document 28 Filed 10/05/21 Page 2 of 7 Page ID #:164




 1           Plaintiff/Counterclaim-Defendant Guangzhou Yucheng Trading Co., Ltd.
 2    (“Guangzhou” or “Counterclaim-Defendant”), through its counsel, hereby responds
 3    to the Counterclaims, dated September 14, 2021 (ECF No. 27, “Counterclaims”) of
 4    Defendant/Counterclaim-Plaintiff DBest Products, Inc. (“DPI” or “Counterclaim-
 5    Plaintiff”) as set forth below. In response to all paragraphs of the Counterclaims,
 6    Guangzhou denies each and every allegation except as expressly admitted herein.
 7                                      NATURE OF ACTION
 8           1.     Guangzhou admits that DPI purports to allege a claim for patent
 9    infringement of U.S. Patent No. 9,233,700. Guangzhou denies the remainder of the
10    allegations of paragraph “1” of the Counterclaims.
11                                               PARTIES
12           2.     Guangzhou admits the allegations contained in paragraph “2” of the
13    Counterclaims.
14           3.     Guangzhou denies the allegations in paragraph “3” of the Counterclaims
15    in that it presently lacks sufficient knowledge or information upon which to form a
16    belief as to the truth thereof.
17           4.     Guangzhou denies the allegations in paragraph “4” of the Counterclaims
18    in that it presently lacks sufficient knowledge or information upon which to form a
19    belief as to the truth thereof.
20           5.     Guangzhou admits that the ’700 Patent was issued on January 12, 2016
21    and is entitled “PORTABLE CART WITH REMOVABLE SHOPPING BAG.”
22    Guangzhou denies the remaining allegations in paragraph “5” of the Counterclaims
23    in that it presently lacks sufficient knowledge or information upon which to form a
24    belief as to the truth thereof.
25           6.     Guangzhou admits that it is a company organized and existing under the
26    laws of China with its principal place of business at (Part: A252) Second Floor, No.
27    57, Huangcun Road, Tianhe District, Guangzhou Guangdong Province, P.R. China.
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                           Plaintiff/Counterclaim-Defendant’s Answer to Counterclaims
                                                                          Case No. 2:21-cv-04758-JVS-JDE
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Case 2:21-cv-04758-JVS-JDE Document 28 Filed 10/05/21 Page 3 of 7 Page ID #:165




 1           7.     Guangzhou admits that it has sold products in the United States under
 2    ASIN #s B07T63S2WP, B08CX9VXPT, and B07B4XSW9L on the Amazon.com
 3    platform. Guangzhou denies the remainder of the allegations of paragraph “7” of the
 4    Counterclaims.
 5                                 JURISDICTION AND VENUE
 6           8.     Guangzhou admits that DPI purports to allege a claim for patent
 7    infringement of the ’700 Patent. Guangzhou denies the remainder of the allegations
 8    of paragraph “8” of the Counterclaims.
 9           9.     Guangzhou admits that this Court has subject matter jurisdiction over
10    DPI’s purported patent infringement Counterclaim. Guangzhou denies the remainder
11    of the allegations of paragraph “9” of the Counterclaims.
12           10. Guangzhou admits the venue is proper in this district for purposes of this
13    Action. Guangzhou denies the remainder of the allegations of paragraph “10” of the
14    Counterclaims.
15           11. Guangzhou admits that it is subject to personal jurisdiction in this Court
16    for purposes of this Action. Guangzhou denies the remainder of the allegations of
17    paragraph “11” of the Counterclaims.
18                                      ACCUSED PRODUCTS
19           12. Guangzhou admits that it has sold products under ASIN #s
20    B07T63S2WP, B08CX9VXPT, and B07B4XSW9L on the Amazon.com platform.
21    Guangzhou denies the remainder of the allegation in paragraph “12” of the
22    Counterclaims.
23           13. Guangzhou admits that it has sold products under ASIN #s
24    B07T63S2WP, B08CX9VXPT, and B07B4XSW9L on the Amazon.com platform.
25    Guangzhou denies the remainder of the allegations in paragraph “13” of the
26    Counterclaims in that it presently lacks sufficient knowledge or information upon
27    which to form a belief as to the truth thereof.
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                           Plaintiff/Counterclaim-Defendant’s Answer to Counterclaims
                                                                          Case No. 2:21-cv-04758-JVS-JDE
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Case 2:21-cv-04758-JVS-JDE Document 28 Filed 10/05/21 Page 4 of 7 Page ID #:166




 1                                  COUNT I - INFRINGEMENT
 2           14. Guangzhou repeats and reiterates each and every one of the foregoing
 3    answers in response to the allegations made in paragraph 14 of the Counterclaims
 4    herein with the same force and effect as though set forth at length.
 5           15. Guangzhou denies the allegations of paragraph “15” of the
 6    Counterclaims.
 7           16. Guangzhou denies the allegations of paragraph “16” of the
 8    Counterclaims.
 9           17. Guangzhou denies the allegations of paragraph “17” of the
10    Counterclaims.
11           18. Guangzhou denies the allegations of paragraph “18” of the
12    Counterclaims.
13           19. Guangzhou denies the allegations of paragraph “19” of the
14    Counterclaims.
15           20. Guangzhou denies the allegations of paragraph “20” of the
16    Counterclaims.
17                                     REQUEST FOR RELIEF
18           Guangzhou denies that DPI is entitled to the relief requested. To the extent that
19    any statement in the prayer for relief is deemed factual, it is denied.
20                                            *       *        *
21                                   AFFIRMATIVE DEFENSES
22           Guangzhou incorporates by reference the foregoing paragraphs in their entirety
23    and asserts the following affirmative defenses to the claims set forth in the
24    Counterclaims.       Guangzhou reserves the right to allege additional Affirmative
25    Defenses as they become known, and accordingly to amend this Answer.
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                                                                          Case No. 2:21-cv-04758-JVS-JDE
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Case 2:21-cv-04758-JVS-JDE Document 28 Filed 10/05/21 Page 5 of 7 Page ID #:167




 1                               FIRST AFFIRMATIVE DEFENSE
 2                                   (Failure to State a Claim)

 3           The Counterclaims fail to state a claim upon which relief may be granted. In
 4    particular, the Counterclaims fail to provide any factual support for any of the claims
 5    from which the Court could conclude that Guangzhou is liable for any claim.
 6                             SECOND AFFIRMATIVE DEFENSE
 7
                                     (Non-Infringement)

 8           Guangzhou has not infringed, nor is it infringing, the ’700 Patent directly,
 9    indirectly, literally or under the doctrine of equivalents.
10                              THIRD AFFIRMATIVE DEFENSE
                                         (Invalidity)
11

12           The ’700 Patent is invalid for failing to satisfy at least one of the requirements
13    of patentability set forth in 35 U.S.C. §§ 101, 102, 103, and/or 112.
14                             FOURTH AFFIRMATIVE DEFENSE
                                   (Limitation of Damages)
15

16           DPI’s claims for damages and costs are limited by 35 U.S.C. §§ 286, 287,
17    and/or 288.
18                               FIFTH AFFIRMATIVE DEFENSE
                                        (Patent Misuse)
19
20           DPI’s Counterclaims are barred, in whole or in part, by patent misuse. In
21    particular, DPI improperly asserted the ’700 Patent to submit false and defamatory
22    statements to Amazon. The purpose of DPI’s patent misuse is to stifle legitimate
23    competition and maintain pricing for its shopping cart products on Amazon.
24                               SIXTH AFFIRMATIVE DEFENSE
                                        (Unclean Hands)
25

26           DPI’s action is barred, in whole or in part, under the doctrine of unclean hands.
27    In particular, DPI’s claims are barred by its own unlawful conduct.
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                                                                          Case No. 2:21-cv-04758-JVS-JDE
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Case 2:21-cv-04758-JVS-JDE Document 28 Filed 10/05/21 Page 6 of 7 Page ID #:168




 1                                            *        *       *
 2                                  DEMAND FOR JURY TRIAL
 3           Guangzhou hereby requests a jury trial for all issues triable by jury.
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 6                                                    Respectfully submitted,
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 8    Dated: October 5, 2021                          TARTER KRINSKY & DROGIN LLP
 9
                                                  By: /s/ Mark Berkowitz
10                                                    Stephen M. Lobbin (SBN 181195)
11                                                    sml@smlavvocati.com
                                                      Austin J. Richardson (SBN 319807)
12                                                    ajr@smlavvocati.com
13                                                    SML AVVOCATI P.C.
                                                      888 Prospect Street, Suite 200
14                                                    San Diego, CA 92037
15                                                    Tel: 949.636.1391

16                                                    Mark Berkowitz (pro hac vice)
17                                                    mberkowitz@tarterkrinsky.com
                                                      TARTER KRINSKY & DROGIN LLP
18                                                    1350 Broadway
19                                                    New York, NY 10018
                                                      Tel: 212.216.8000
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21                                                    Attorneys for Plaintiff

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Case 2:21-cv-04758-JVS-JDE Document 28 Filed 10/05/21 Page 7 of 7 Page ID #:169




 1                                  CERTIFICATE OF SERVICE
 2          I hereby certify that on October 5, 2021, I electronically filed the above
 3   document(s) with the Clerk of Court using CM/ECF which will send electronic
 4   notification of such filing(s) to all registered counsel.
 5

 6   Dated: October 5, 2021
 7
                                                      /s/ Mark Berkowitz
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